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                                                                 U.S. Department of Justice


                                                                       United States Attorney
                                                                     Northern District of Ohio

                                                                        United States Court House
                                                               801 West Superior Avenue, Suite 400
                                                                      Cleveland, Ohio 44//3-1852
                                                                             Main : 2 16-622-3600
                                                                         Facsimile: 216-522-4982

                                                                           December 10, 2018

Enu Mainigi
Williams and Connolly LLP
725 Twelfth Street, NW
Washington, DC 20005-5901

              Re: Touhy Requests in In re: National Prescription Opiate Litigation,
              MDL No. 2804 (N.D. Ohio)

Dear Ms. Mainigi:

        By letter dated July 10, 2018, the defendants in the above-captioned matter (the
MDL Defendants) requested testimony from thirteen current and former employees of the
United States Drug Enforcement Administration (DEA), one former employee of the FBI,
and certain 30(b)(6) testimony under the Department of Justice (DOJ's) Touhy
regulations, 28 C.F.R. § 16.21, et seq. The MDL Defendants' Touhy requests were later
modified on September 4, 2018, when you proposed "prioritizing" the following eight
individuals: Demetra Ashley, Gregory Brodersen, Michael Mapes, Keith Martin, Louis
Milione, Joseph Rannazzisi, Dr. Christine Sannerud and Kyle Wright. Defendants also
provided revised summaries of requested testimony and statements of relevance for the
prioritized witnesses. This letter summarizes DOJ's response to the MDL Defendants '
prioritized Touhy requests. Attached hereto are copies of the decision letters issued under
the Touhy regulations in response to defendants ' requests.

       As you are aware, federal regulations govern the disclosure of official DEA
information by federal employees. See US. ex rel. Touhy v. Ragen, 340 U.S. 462, 468
(195)); United States v. Wallace, 32 F.3d 921 , 929 (5th Cir. 1994). Under these
regulations, current and former DEA employees are prohibited from disclosing official
information in proceedings in which the United States is not a party without express
authorization from the DOJ. See 28 C.F.R. 16.22(a). " [N]either FOIA nor a third-party
subpoena will provide the private litigant with guaranteed access, at public expense, to the
testimonial evidence of agency employees. When the government is not a party, the
decision to permit employee testimony is committed to the agency ' s discretion."
COMSATCorp. v. Nat'! Sci. Found. , 190 F.3d 269,278 (4th Cir. 1999).
                                                                                   GOVERNMENT
                                                                                     EXHIBIT

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        I have considered the list included in your September 4, 2018, letter of the eight
current and former DEA employees whose testimony you seek. After careful consultation
with the DEA, I have determined that your request for the disclosure of official
government information should be granted in part and denied in part. Specifically, the
following individuals are authorized to give deposition testimony on the topics set forth in
their authorization letters and summarized below:

       Demetra Ashley: Ms. Ashley is authorized to give non-privileged, factual
testimony within her personal knowledge relating to her former position as the Acting
Assistant Administrator for the Office of Diversion Control. Specifically, she is
authorized to provide testimony regarding her personal recollections of her
communications with DEA registrants about what makes an order "suspicious" under 21
C.F.R. § 1301.74; advice she provided regarding registrants ' obligation to monitor orders
placed with third-party registrants; and her interactions with manufacturers and
distributors of opioids during her tenure at the Office of Diversion Control.

        I am also authorizing Ms. Ashley to provide testimony on "DEA's interpretation
and enforcement of, and practices related to 21 U.S.C. § 823 and 21 C.F.R. § 1301.74"
and "DEA's interpretation, enforcement, and practices regarding the obligation to monitor
orders" to the extent covered by the foregoing specific topics on which she is authorized
to testify.

       Joseph T. Rannazzisi: Mr. Rannazzisi is authorized to give non-priv ileged,
factual testimony within his personal knowledge relating to his former position as a
Deputy Assistant Administrator of the Office of Diversion Control . Specifically, he is
authorized to provide testimony regarding his personal recollections of his
communications with DEA registrants about what makes an order "suspicious" under 21
C.F.R. § 1301.74, including the letters he authored in 2006 and 2007; advice he provided
regarding registrants' obligation to monitor orders placed with third-party reg istrants; his
interactions with opioid manufacturers and distributors during his tenure at the Office of
Diversion Control; his understanding of DEA's practices and procedures relating to
ARCOS data and suspicious order reports ; his personal recollection of requests the DEA
may have received from registrants for de-identified ARCOS data and any responses by
DEA thereto; his role within DEA in establishing procurement and manufacturing quotas
for opioid medications; and documents obtained by him during his DEA employment and
retained by him following his departure.

        Mr. Rannazzisi is further authorized to provide testimony on "DEA ' s
interpretation and enforcement of, and practices related to 21 U.S.C. § 823 and 21 C.F.R .
§ 1301.74" and "DEA' s interpretation, enforcement, and practices regarding the
obligation to monitor orders" to the extent covered by the foregoing specific topics on
which he is authorized to testify. Mr. Rannazzisi is not authorized to testify about
"DEA' s decision not to allow Distributors access to de-identified ARCOS data prior to
February 2018," because Mr. Rannazzisi retired from DEA in 201 5 and, therefore, has no
personal knowledge of any agency action announced in February 2018.



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       Kyle J. Wright: Mr. Wright is authorized to give non-privileged, factual
testimony within his personal knowledge relating to his former position as a Staff
Coordinator in the Regulatory Division of the Office of Diversion Control and in the
Targeting & Analysis Unit of the Office of Diversion Control. Specifically, Mr. Wright is
authorized to testify regarding his personal recollections of his practices and procedures
relating to ARCOS data and suspicious order reports, and his interactions with registrants
when a distributor terminated its relationship with a customer due to the risk of diversion.

        Mr. Wright is further authorized to provide testimony on "DEA' s interpretation
and enforcement of, and practices related to 21 U.S.C. § 823 and 21 C.F .R. § 1301.74" to
the extent covered by the foregoing specific topics on which he is authorized to testify.
Mr. Wright is not authorized to provide testimony on "DEA's interpretation, enforcement,
and practices regarding the obligation to monitor orders placed with other third party
registrants and/or the use or potential use of Chargeback data in connection with any
obligation under 21 U.S.C § 823 or any other provision of the Controlled Substances Act
and 21 C .F .R. § 1301.74 or any other implementing regulation of the Controlled
Substances Act" because this request is cumulative.

                                                 ***
       The above-named witnesses are not authorized to give testimony on any matter
other than that which concerns the above-stated topics and information. Topics on which
these witnesses are not authorized to testify include:
           • matters requiring a statement of their personal opinions regarding non-
              public facts or information acquired as part of the performance of their
              official duties;
           • non-public recommendations concerning proposed agency action;
           • information concerning an ongoing investigation;
           • materials prepared by counsel; or
           • other information that may be privileged or otherwise non-releasable.

        Although I have authorized certain testimony, I have determined that Gregory
Brodersen, Michael Mapes, and Louis J. Milione will not be authorized to testify in
connection with the subject matters identified in your July 10 and September 4 letters.
After an interview of each of these witnesses, I have concluded that the witnesses either
lack first-hand knowledge of the proposed topics, or the requested testimony would be
duplicative of other testimony that I have authorized. See, e.g., United States v.
Weischedel, 201 F.3d 1250, 1255 (9th Cir. 2000) (affirming the denial of request to
subpoena witnesses whose testimony, although relevant, would be cumulative); see also
Fed. R . Civ. P. 26(b)(2)(C).

       As your September 4 letter "de-prioritizes" your July 10 requests for the testimony
of Denise Foster, Michele Leonhart, Charles P. Rosenberg, Alan G. Santos, Derek Siegle,
and Matthew Strait, I have not considered these specific requests. Nonetheless, I also
note that no subpoenas were issued for Ms. Foster or Ms. Leonhart; Mr. Santos has not


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been served; and Mr. Siegle is not a current or former DEA employee. Finally, although
Dr. Christine Sannerud and Keith Martin remain on your "priority" list, I have not
considered your request for their testimony. I did not consider your request for Mr.
Martin because you did not issue a subpoena for him. Regarding Dr. Sannerud, I
understand that she was served just this morning so I will follow up on the request for
authorization for her separately. I do note that contrary to Fed. R. Civ. P. 45 , her
deposition was noticed at a location more than 100 miles from where she resides.

      Please contact Assistant U.S. Attorney James Bennett (216-622-3988) to discuss
mutually agreeable times for the deposition testimony I have authorized.

                           Sincerely,




                           AV A ROTELL DUSTIN
                           Executive Assistant United State Attorney
                           Office of the U.S. Attorney for the Northern District of Ohio
                           Acting Under Authority Conferred by 28 U.S.C § 515




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